            Case 2:18-cr-00003-TOR        ECF No. 78        filed 06/01/21      PageID.250 Page 1 of 3
 PROB 12C                                                                                 Report Date: May 28, 2021
(6/16)
                                                                                              FILED IN THE
                                       United States District Court                       U.S. DISTRICT COURT
                                                                                    EASTERN DISTRICT OF WASHINGTON

                                                       for the
                                                                                      Jun 01, 2021
                                        Eastern District of Washington                   SEAN F. MCAVOY, CLERK




                    Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Augustus Johnley                          Case Number: 0980 2:18CR00003-TOR-1
 Address of Offender: 20 Staff Sgt Pendleton Way, Cascade Apartments #108, Yakima, Washington 98901
 Name of Sentencing Judicial Officer: The Honorable Thomas O. Rice, U.S. District Judge
 Date of Original Sentence: December 19, 2018
 Original Offense:        Failure to Register as a Sex Offender, 18 U.S.C. § 2250(a)
 Original Sentence:       Prison - 18 months                 Type of Supervision: Supervised Release
                          TSR - 60 months
 Asst. U.S. Attorney:     Michael James Austen Ellis         Date Supervision Commenced: May 22, 2019
 Defense Attorney:        Francisco Carriedo                 Date Supervision Expires: May 21, 2024


                                          PETITIONING THE COURT

To incorporate the violation(s) contained in this petition in future proceedings with the violation(s) previously
reported to the Court on 03/04/2021.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

             3          Special Condition # 7: You must abstain from the use of illegal controlled substances, and
                        must submit to urinalysis and sweat patch testing, as directed by the supervising officer, but
                        no more than 6 tests per month, in order to confirm continued abstinence from these
                        substances.

                        Supporting Evidence: Mr. Johnley is considered to be in violation of his supervised release
                        conditions by failing to report to Merit Resource Services (Merit) for urinalysis (UA) testing
                        on March 4, 18, and 29; April 6, 12, and 27; and May 6, 19, and 25, 2021.

                        On May 22, 2019, a U.S. probation officer met with Mr. Johnley upon his release from
                        custody. Mr. Johnley reviewed and signed the judgment and sentence, which outlined the
                        conditions of his term of supervised release.

                        On July 10, 2019, Mr. Johnley reviewed and signed the substance abuse testing instructions
                        acknowledging his understanding of the testing program. He was instructed to call Merit’s
                        color line system. When his designated color was called, he is to report to Merit and submit
                        to a drug screen.
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                       On March 5, 2021, Merit reported Mr. Johnley failed to show up for random UA testing on
                       March 4, 2021.

                       On March 19, 2021, Merit reported Mr. Johnley failed to show up for random UA testing
                       on March 18, 2021.

                       On March 30, 2021, Merit reported Mr. Johnley failed to show up for random UA testing
                       on March 29, 2021.

                       On April 7, 2021, Merit reported Mr. Johnley failed to show up for random UA testing on
                       April 6, 2021.

                       On April 13, 2021, Merit reported Mr. Johnley failed to show up for random UA testing on
                       April 12, 2021.

                       On April 28, 2021, Merit reported Mr. Johnley failed to show up for random UA testing on
                       April 27, 2021.

                       On May 7, 2021, Merit reported Mr. Johnley failed to show up for random UA testing on
                       May 6, 2021.

                       On May 20, 2021, Merit reported Mr. Johnley failed to show up for random UA testing on
                       May 19, 2021.

                       On May 26, 2021, Merit reported Mr. Johnley failed to show up for random UA testing on
                       May 25, 2021.
          4            Special Condition # 7: You must abstain from the use of illegal controlled substances, and
                       must submit to urinalysis and sweat patch testing, as directed by the supervising officer, but
                       no more than 6 tests per month, in order to confirm continued abstinence from these
                       substances.

                       Supporting Evidence: Mr. Johnley is considered to be in violation of his supervised release
                       conditions by consuming a controlled substance, methamphetamine, on or about May 26,
                       2021.

                       On May 22, 2019, a U.S. probation officer met with Mr. Johnley upon his release from
                       custody. Mr. Johnley reviewed and signed the judgment and sentence, which outlined the
                       conditions of his term of supervised release.

                       On May 28, 2021, Mr. Johnley’s substance abuse counselor at the Yakama Nation Tiinawit
                       Program reported Mr. Johnley submitted to UA testing as part of his undergoing a substance
                       abuse evaluation. The counselor reported Mr. Johnley’s UA test results returned positive
                       for methamphetamine.

The U.S. Probation Office respectfully recommends the Court to incorporate the violation(s) contained in this petition
in future proceedings with the violation(s) previously reported to the Court.
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                                     I declare under penalty of perjury that the foregoing is true and correct.
                                                       Executed on:     May 28, 2021
                                                                        s/Arturo Santana
                                                                        Arturo Santana
                                                                        U.S. Probation Officer



 THE COURT ORDERS

 [ ]      No Action
 [ ]      The Issuance of a Warrant
 [ ]      The Issuance of a Summons
 [ X]     The incorporation of the violation(s) contained in this
          petition with the other violations pending before the
          Court.
 [X ]     Defendant to appear before the Judge assigned to the
          case.
 [ ]      Defendant to appear before the Magistrate Judge.
 [X]      Other: All pending violations will be addressed
          at the revocation hearing scheduled for
          6/23/2021.                                                    Thomas O. Rice
                                                                        United States District Judge
                                                                        June 1, 2021
                                                                        Date
